                           THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


 KIMBERLY DIEI,


                    Plaintiff,
                                                    CIVIL ACTION NO.
                                                    2:21-cv-02071-JTF-cgc
         v.
                                                    JURY TRIAL DEMANDED
 RANDY BOYD, ET AL.,


                    Defendants.



    JOINT MOTION FOR LEAVE TO FILE A SINGLE BRIEF IN RESPONSE TO
   DEFENDANTS’ MOTIONS TO DISMISS AND TO EXCEED PAGE LIMITATION


       Plaintiff Kimberly Diei And Defendants Randy Boyd, et al. hereby submit this Joint

Motion for Leave to File a Single Brief in Response to Defendants’ Motions to Dismiss and to

Exceed Page Limitation by and through the undersigned attorneys.

       Plaintiff respectfully moves the Court for leave to file a single, overlength brief in

response to Individual Capacity Defendants’ Motion to Dismiss the Fourth and Fifth Causes of

Action [Doc. 24] and Official Capacity Defendants’ Motion to Dismiss the First, Second, and

Third Causes of Action [Doc. 25] (“Defendants’ Motions to Dismiss”). Local Rule 12.1(b) limits

the length of memoranda in opposition to motions to twenty (20) pages. Plaintiff respectfully

moves this Court for leave to file a single response exceeding the page limitation, not to exceed

fifty (50) pages.
       Defendants respectfully move this Court for leave to file reply brief(s) in response to

Plaintiff’s Response to Defendants’ Motions to Dismiss. Local Rule 12.1(c) limits the length of

reply memoranda to ten (10) pages. Defendants respectfully move this court for leave to file

reply brief(s) exceeding the page limitation, not to exceed twenty (20) pages.

       In support of their motion, the Parties state as follows:

           1. Good cause exists for this request because the legal issues at hand in this case are

complex and the Parties’ requests will allow them to address those arguments more completely

for the Court, and the consolidation of Plaintiff’s briefing into a single response will not cause

prejudice to either Party or the Court.

       WHEREFORE, the Parties respectfully request that the Court enter an order granting the

Plaintiff’s requested leave to file a single, overlength brief in response to Defendants’ Motions to

Dismiss and granting the Defendants’ requested leave to file an overlength reply.

       Respectfully Submitted,

/s/ Greg H. Greubel                                /s/ Edd Peyton
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                                 CERTIFICATE OF SERVICE

         I, Greg H. Greubel, hereby certify that on April 5, 2021, a copy of the foregoing motion
was filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing receipt, and parties may access this
filing through the Court’s electronic filing system.

                                               /s/ Greg H. Greubel
                                               Greg H. Greubel
